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JS44 (Rev. 10/2020 NDGA)                        CIVIL COVER SHEET
The JS44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as provided by
local rules of court. This form is required for the use of the Clerk of Court for the purpose of initiating the civil docket record. (SEE INSTRUCTIONS ATTACHED)


I. (a) PLAINTIFF(S)                                                                              DEFENDANT(S)
         Nathaniel Clark                                                                         City of Forest Park, Georgia
                                                                                                 Latresa Akins-Wells, in her individual capacity




   (b) COUNTY OF RESIDENCE OF FIRST LISTED                                                     COUNTY OF RESIDENCE OF FIRST LISTED
         PLAINTIFF                Henry County                                                 DEFENDANT
                          (EXCEPT IN U.S. PLAINTIFF CASES)                                                        (IN U.S. PLAINTIFF CASES ONLY)

                                                                                                 NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF THE TRACT OF LAND
                                                                                                 INVOLVED

  (c) ATTORNEYS (FIRM NAME, ADDRESS, TELEPHONE NUMBER, AND                                       ATTORNEYS                  (IF KNOWN)
                                                                                                                                                     For Latresa Akins-Wells:
                                   E-MAIL ADDRESS)                                               For City of Forest Park:
                                                                                                                                                     Karen Woodward
          Jackie Lee                                                                             Michael Hill                                        Cruser, Mitchell, Novitz, Sanchez,
          Lee Law Firm, LLC, 1100 Peachtree Street, NE, Suite                                    Freeman Mathis & Gary, LLP                          Gaston & Zimet, LLP
          250, Atlanta, GA 30309                                                                 100 Galleria Parkway, Suite 1600                    Meridian II, Suite 2000
                                                                                                 Atlanta, GA 30039                                   275 Scientific Drive
          404-301-8973                                                                           770-303-8635                                        Peachtree Corners, GA 30092
          jackie@leelawga.com                                                                    mhill@fmglaw.com                                    404-881-2623
                                                                                                                                                     kwoodward@cmlawfirm.com

II. BASIS OF JURISDICTION                                                     III. CITIZENSHIP OF PRINCIPAL PARTIES
      (PLACE AN “X” IN ONE BOX ONLY)                                                 (PLACE AN “X” IN ONE BOX FOR PLAINTIFF AND ONE BOX FOR DEFENDANT)
                                                                                                        (FOR DIVERSITY CASES ONLY)

                                                                              PLF      DEF                                 PLF      DEF

   1 U.S. GOVERNMENT          ✔   3 FEDERAL QUESTION                            1        1 CITIZEN OF THIS STATE               4       4    INCORPORATED OR PRINCIPAL
     PLAINTIFF                      (U.S. GOVERNMENT NOT A PARTY)                                                                           PLACE OF BUSINESS IN THIS STATE

   2 U.S. GOVERNMENT              4 DIVERSITY                                   2        2   CITIZEN OF ANOTHER STATE          5       5    INCORPORATED AND PRINCIPAL
     DEFENDANT                      (INDICATE CITIZENSHIP OF PARTIES                                                                        PLACE OF BUSINESS IN ANOTHER STATE
                                     IN ITEM III)
                                                                                3        3   CITIZEN OR SUBJECT OF A          6        6    FOREIGN NATION
                                                                                             FOREIGN COUNTRY


IV. ORIGIN             (PLACE AN “X “IN ONE BOX ONLY)
                                                                                                        TRANSFERRED FROM              MULTIDISTRICT         APPEAL TO DISTRICT JUDGE
        1 ORIGINAL      ✔ 2 REMOVED FROM            3 REMANDED FROM            4 REINSTATED OR        5 ANOTHER DISTRICT            6 LITIGATION -        7 FROM MAGISTRATE JUDGE
          PROCEEDING        STATE COURT              APPELLATE COURT            REOPENED                  (Specify District)          TRANSFER              JUDGMENT


        MULTIDISTRICT
      8 LITIGATION -
        DIRECT FILE


V. CAUSE OF ACTIONJURISDICTIONAL
                   (CITE THE U.S. CIVIL STATUTE UNDER WHICH YOU ARE FILING AND WRITE A BRIEF STATEMENT OF CAUSE - DO NOT CITE
                                    STATUTES UNLESS DIVERSITY)
     Title VII of the Civil Rights Act of 1964, 42 U.S.C. § 2000e et seq. - Alleged retaliation in employment




(IF COMPLEX, CHECK REASON BELOW)

        1. Unusually large number of parties.                                        6. Problems locating or preserving evidence
        2. Unusually large number of claims or defenses.                             7. Pending parallel investigations or actions by government.
        3. Factual issues are exceptionally complex                                  8. Multiple use of experts.
        4. Greater than normal volume of evidence.                                   9. Need for discovery outside United States boundaries.
        5. Extended discovery period is needed.                                     10. Existence of highly technical issues and proof.


                                                                        CONTINUED ON REVERSE
FOR OFFICE USE ONLY

RECEIPT #                           AMOUNT $                                         APPLYING IFP                        MAG. JUDGE (IFP) ______________________

JUDGE                               MAG. JUDGE                                       NATURE OF SUIT                       CAUSE OF ACTION______________________
                                                      (Referral)
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